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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:16CR76
                                            )
                Plaintiff,                  )
                                            )
                vs.                         )             TENTATIVE FINDINGS
                                            )
RANDY CASILLAS,                             )
                                            )
                Defendant.                  )

       The Court has received the Presentence Investigation Report (“PSR”). The parties

have not objected to the PSR. The government adopted the PSR (Filing No. 173). The

Defendant has filed a motion for variance from the sentencing guidelines and supporting

brief (Filing Nos. 177 and 179). See Amended Order on Sentencing Schedule, ¶ 6. The

Court advises the parties that these Tentative Findings are issued with the understanding

that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines

are advisory.

       Accordingly,

       IT IS ORDERED:

       1.       The Court intends to adopt the PSR at the time of sentencing;

       2.       If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;
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       3.     Absent submission of the information required by paragraph 2 of this Order,

these tentative findings are final;

       4.     The Defendant’s Motion for Variance from the Sentencing Guidelines (Filing

No. 177) will be heard at sentencing; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 27th day of October, 2016.


                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge




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